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    Maraj
  7
  8
                                     UNITED STATES DISTRICT COURT
  9
                    CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
 10
 11
      TRACY CHAPMAN,                               Case No. 2:18-cv-9088-VAP-SS
 12
                        Plaintiff,                 ANSWER OF DEFENDANT ONIKA
 13                                                TANYA MARAJ
                  vs.
 14                                                Trial Date: None Set
    ONIKA TANYA MARAJ p/k/a NICKI
 15 MINAJ and DOES 1-10,,
 16                     Defendants.
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      1208428.1                                                    Case No. 2:18-cv-9088-VAP-SS
                                                ANSWER
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  1               Defendant Onika Tanya Maraj (“Defendant”), for herself and no other party,
  2 hereby answers the complaint filed in this action by plaintiff Tracy Chapman (the
  3 “Complaint”), as follows:
  4               1.    Defendant denies that she has infringed, willfully or otherwise, any
  5 copyrights held by Plaintiff and, on that basis, denies the allegations in paragraph 1
  6 of the Complaint.
  7               2.    Defendant admits that her representatives made several requests for
  8 permission to release a musical interpolation that used music and lyrics from the
  9 Composition. Except as expressly admitted, Defendant denies each and every
 10 allegation in paragraph 2 of the Complaint.
 11               3.    Defendant admits that Chapman denied her requests for permission to
 12 release a musical interpolation that used music and lyrics from the Composition.
 13 Except as expressly admitted, Defendant denies each and every allegation in
 14 paragraph 3 of the Complaint.
 15               4.    Defendant denies the allegations in paragraph 4 of the Complaint.
 16               5.    Defendant admits the allegations in paragraph 5 of the Complaint.
 17               6.    Defendant admits the allegations in paragraph 6 of the Complaint.
 18               7.    Defendant admits that this Court has personal jurisdiction over her.
 19 Except as expressly admitted, Defendant denies each and every allegation in
 20 paragraph 7 of the Complaint.
 21               8.    Defendant admits that venue is proper as to her. Except as expressly
 22 admitted, Defendant denies each and every allegation in paragraph 8 of the
 23 Complaint.
 24               9.    Defendant lacks information sufficient to form a belief as to the truth of
 25 the allegations in paragraph 9 of the Complaint and, on that basis, denies them.
 26               10.   Defendant admits the allegations in paragraph 10 of the Complaint.
 27               11.   Defendant lacks information sufficient to form a belief as to the truth of
 28 the allegations in paragraph 11 of the Complaint and, on that basis, denies them.
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  1               12.   Defendant lacks information sufficient to form a belief as to the truth of
  2 the allegations in paragraph 12 of the Complaint and, on that basis, denies them.
  3               13.   Defendant lacks information sufficient to form a belief as to the truth of
  4 the allegations in paragraph 13 of the Complaint and, on that basis, denies them.
  5               14.   Defendant lacks information sufficient to form a belief as to the truth of
  6 the allegations in paragraph 14 of the Complaint and, on that basis, denies them.
  7               15.   Defendant lacks information sufficient to form a belief as to the truth of
  8 the allegations in paragraph 15 of the Complaint and, on that basis, denies them.
  9               16.   Defendant lacks information sufficient to form a belief as to the truth of
 10 the allegations in paragraph 16 of the Complaint and, on that basis, denies them.
 11               17.   Defendant lacks information sufficient to form a belief as to the truth of
 12 the allegations in paragraph 17 of the Complaint and, on that basis, denies them.
 13               18.   Defendant lacks information sufficient to form a belief as to the truth of
 14 the allegations in paragraph 18 of the Complaint and, on that basis, denies them.
 15               19.   Defendant admits that she recorded a musical interpolation (“Sorry”)
 16 that incorporated music and lyrics from the Composition. Defendant admits that she
 17 hoped to include Sorry on her album Queen, which was released in the United States
 18 on August 10, 2018. Except as expressly admitted, Defendant denies each and
 19 every allegation in paragraph 19 of the Complaint.
 20               20.   Defendant admits that Sorry incorporates music and lyrics from the
 21 Composition. Defendant admits that she made a recording of Sorry without first
 22 seeking authorization to do so. Except as expressly admitted, Defendant denies each
 23 and every allegation in paragraph 20 of the Complaint.
 24               21.   Defendant denies the allegations in paragraph 21 of the Complaint.
 25               22.   Defendant finds unintelligible the allegations of paragraph 22 of the
 26 Complaint and, on that basis, denies them.
 27               23.   Defendant admits that she recorded Sorry before her representatives
 28 sought Chapman’s consent to use portions of the Composition in an interpolation.
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  1 Except as expressly admitted, Defendant denies each and every allegation in
  2 paragraph 23 of the Complaint.
  3               24.   Defendant admits the allegations in paragraph 24 of the Complaint.
  4               25.   Defendant admits the allegations in paragraph 25 of the Complaint.
  5               26.   Defendant admits the allegations in paragraph 26 of the Complaint.
  6               27.   Defendant admits the allegations in paragraph 27 of the Complaint.
  7               28.   Defendant admits the allegations in paragraph 28 of the Complaint.
  8               29.   Defendant denies the allegations in paragraph 29 of the Complaint.
  9               30.   Defendant lacks information sufficient to form a belief as to the truth of
 10 the allegations in paragraph 30 of the Complaint and, on that basis, denies them.
 11               31.   Defendant lacks information sufficient to form a belief as to the truth of
 12 the allegations in paragraph 31 of the Complaint and, on that basis, denies them.
 13               32.   Defendant denies there was an infringing work. Defendant lacks
 14 information sufficient to form a belief as to the truth of the remaining allegations in
 15 paragraph 32 of the Complaint and, on that basis, denies them.
 16               33.   Defendant lacks information sufficient to form a belief as to the truth of
 17 the allegations in paragraph 33 of the Complaint and, on that basis, denies them.
 18               34.   Defendant admits that, on August 10, 2018, Defendant released Queen
 19 in the United States. Defendant admits that Sorry was not on the album. Except as
 20 expressly admitted, Defendant denies each and every allegation in paragraph 34 of
 21 the Complaint.
 22               35.   Defendant admits the allegations in paragraph 35 of the Complaint.
 23               36.   Defendant lacks information sufficient to form a belief as to the truth of
 24 the allegations in paragraph 36 of the Complaint and, on that basis, denies them.
 25               37.   Defendant denies the allegations in paragraph 37 of the Complaint.
 26               38.   Defendant lacks information sufficient to form a belief as to the truth of
 27 the allegations in paragraph 38 of the Complaint and, on that basis, denies them.
 28               39.   Defendant lacks information sufficient to form a belief as to the truth of
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  1 the allegations in paragraph 39 of the Complaint and, on that basis, denies them.
  2               40.   Defendant lacks information sufficient to form a belief as to the truth of
  3 the allegations in paragraph 40 of the Complaint and, on that basis, denies them.
  4               41.   Defendant lacks information sufficient to form a belief as to the truth of
  5 the allegations in paragraph 41 of the Complaint and, on that basis, denies them.
  6               42.   Defendant lacks information sufficient to form a belief as to the truth of
  7 the allegations in paragraph 42 of the Complaint and, on that basis, denies them.
  8               43.   Defendant lacks information sufficient to form a belief as to the truth of
  9 the allegations in paragraph 43 of the Complaint and, on that basis, denies them.
 10               44.   Defendant lacks information sufficient to form a belief as to the truth of
 11 the allegations in paragraph 44 of the Complaint and, on that basis, denies them.
 12               45.   Defendant lacks information sufficient to form a belief as to the truth of
 13 the allegations in paragraph 45 of the Complaint and, on that basis, denies them.
 14               46.   Defendant lacks information sufficient to form a belief as to the truth of
 15 the allegations in paragraph 46 of the Complaint and, on that basis, denies them.
 16               47.   Paragraph 47 of the Complaint assumes the existence of a hypothetical
 17 decision maker. For this reason, Defendant lacks information sufficient to form a
 18 belief as to the truth of the allegations in paragraph 47 of the Complaint and, on that
 19 basis, denies them.
 20               48.   Defendant denies the allegations in paragraph 48 of the Complaint.
 21                          ANSWER TO FIRST CLAIM FOR RELIEF
 22               49.   Defendant incorporates her responses to paragraphs 1 through 48 of the
 23 Complaint.
 24               50.   Defendant lacks information sufficient to form a belief as to the truth of
 25 the allegations in paragraph 50 of the Complaint and, on that basis, denies them.
 26               51.   Defendant admits that Chapman, through her representatives, denied
 27 Defendant’s requests to license the Composition for use in Sorry. Except as
 28 expressly admitted, Defendant denies each and every allegation in paragraph 51 of
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  1 the Complaint.
  2               52.   Defendant denies the allegations in paragraph 52 of the Complaint.
  3               53.   Defendant denies the allegations in paragraph 53 of the Complaint.
  4               54.   Defendant denies the allegations in paragraph 54 of the Complaint.
  5               55.   Defendant denies the allegations in paragraph 55 of the Complaint.
  6               56.   Defendant denies the allegations in paragraph 56 of the Complaint.
  7               57.   Defendant denies the allegations in paragraph 57 of the Complaint.
  8
  9                               FIRST AFFIRMATIVE DEFENSE
 10                                             (Fair Use)
 11               1.    Defendant’s use of the Composition in connection with the making of
 12 Sorry constituted fair use.
 13                              SECOND AFFIRMATIVE DEFENSE
 14                                  (Failure to Register Copyright)
 15               2.    Defendant is informed and believes and thereon alleges that Plaintiff
 16 has not properly registered her claim to the copyright in the Composition.
 17                               THIRD AFFIRMATIVE DEFENSE
 18                                             (Standing)
 19               3.    Defendant is informed and believes and thereon alleges that Plaintiff is
 20 not the owner of the copyright in issue and therefore lacks standing to bring the
 21 claims alleged in the Complaint.
 22                              FOURTH AFFIRMATIVE DEFENSE
 23                                       (Failure to Mitigate)
 24               4.    Plaintiff failed to mitigate the damages alleged in the Complaint and
 25 therefore is not entitled to the alleged damages, or any such damages must be
 26 reduced due to Plaintiff’s failure to mitigate.
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  1                              FIFTH AFFIRMATIVE DEFENSE
  2                                          (De Minimus)
  3               5.   Plaintiff is entitled to recover nothing, because the alleged infringement
  4 is de minimus.
  5
  6               WHEREFORE, Defendant prays for judgment as follows:
  7               1.   That Plaintiff take nothing by reason of her Complaint and that
  8 judgment be rendered in favor of Defendant;
  9               2.   That Defendant be awarded her attorneys’ fees and costs of suit
 10 incurred in defense of this action; and
 11               3.   For such other and further relief as the Court deems just and proper.
 12
 13 DATED: February 22, 2019                   BROWNE GEORGE ROSS LLP
 14                                               Peter W. Ross
                                                  Eric C. Lauritsen
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 16
 17                                            By:
 18                                                       Peter W. Ross
                                               Attorneys for Defendant Onika Tanya Maraj
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  1                                 DEMAND FOR JURY TRIAL
  2               Defendant hereby demands trial by jury.
  3
  4 DATED: February 22, 2019                  BROWNE GEORGE ROSS LLP
  5                                              Peter W. Ross
                                                 Eric C. Lauritsen
  6
  7
  8                                           By:
  9                                                      Peter W. Ross
                                              Attorneys for Defendant Onika Tanya Maraj
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